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LENARD E. SCHWARTZER
2850 S. Jones Blvd., Ste 1

Las Vegas, NV 89146

(702) 307-2022

TRUSTEE

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
Case No. BK-S 16-16106-BTB
IN PROCEEDINGS UNDER CHAPTER 7
TRUSTEE’S MOTION TO DISMISS CASE FOR
FAILURE TO FILE REQUIRED DOCUMENTS
UNDER SECTION 521(i)

(NO HEARING REQUIRED)

In re
ANASTASIA KARAMANIDES

Debtor.

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The Motion of Lenard E. Schwartzer (the "Trustee") to dismiss this case represents:
1. Debtor filed for relief under the Bankruptcy Code on November 15, 2016, and the

Trustee has duly qualified and is now acting as the Chapter 7 Trustee of the estate of the above-

referenced debtor.
2. Debtor marked the petition designating that “Debts are primarily consumer debts.”
3. Debtor failed to file schedules for more than 45 days after the filing of his petition.

See Docket attached as Exhibit “1.”
4. Bankruptcy Code § 521 (i) provides
(1) Subject to paragraphs (2) and (4) and notwithstanding section 707(a), if an
individual debtor in a voluntary case under chapter 7 or 13 fails to file all of the
information required under subsection (a)(1) within 45 days after the date of the filing
of the petition, the case shall be automatically dismissed effective on the 46" day after

the date of the filing of the petition.

 
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o NHN BH A RFR WD BS KY ODOlmlUlUOUlUlllClUMOOUUGS UNCC MmlCULDDlUlUCUMNLGlCUL DCCL CUD

 

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(2) Subject to paragraph (4) and with respect to a case described in paragraph (1), any party
in interest may request the court to enter an order dismissing the case. If requested, the court
shall enter an order of dismissal not later than 7 days after such request.

(3) Subject to paragraph (4) and upon request of the debtor made within 45 days after

the date of the filing of the petition described in paragraph (1), the court may allow

the debtor an additional period of not to exceed 45 days to file the information

required under subsection (a)}(1) if the court finds justification for extending the

period for the filing.

(4) Notwithstanding any other provision of this subsection, on the motion of the

trustee filed before the expiration of the applicable period of time specified in

paragraph (1), (2), or (3), and after notice and a hearing, the court may decline to

dismiss the case if the court finds that the debtor attempted in good faith to file all the
information required by subsection (a)(1)(B)(iv) and that the best interests of creditors

would be served by administration of the case.

WHEREFORE, Trustee prays for an order confirming the automatic dismissal of this case,
and such other and further relief as is just and proper.

DATED: January 5, 2017

 

LENARD E. SCHWARTZER, TRUSTEE

DECLARATION OF TRUSTEE

I declare, under penalty of perjury, that the foregoing is true and correct, to the best of my

knowledge, information and belief.

DATED: January 5, 2017 LEELA

LENARD E. SCHWARTZER

 

 
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EXHIBIT “1”

 
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DebtEd, BAPCPA, MEANSU

U.S. Bankruptcy Court
District of Nevada (Las Vegas)
Bankruptcy Petition #: 16-16106-btb
Date filed: 11/15/2016

Assigned to: BRUCE T. BEESLEY 341 meeting: 01/04/2017
Chapter 7 Deadline for objecting to discharge: 02/17/2017
Voluntary

No asset

Debtor represented by ANASTASIA

ANASTASIA KARAMANIDES KARAMANIDES

2722 PORT LEWIS AVENUE PRO SE

HENDERSON, NV 89052

CLARK-NV

SSN / ITIN: xxx-xx-7859

Trustee

LENARD E. SCHWARTZER
2850 S. JONES BLVD., #1
LAS VEGAS, NV 89146

(702) 307-2022

U.S. Trustee

U.S. TRUSTEE - LV -7

300 LAS VEGAS BOULEVARD, SO.
SUITE 4300

LAS VEGAS, NV 89101

 

 

 

Filing Date # Docket Text
1 Chapter 7 Voluntary Petition Individual. Fee
(11 pgs) Amount $0. Request for in forma pauperis waiver.
Filed by ANASTASIA KARAMANIDES (arv)
11/15/2016 (Entered: 11/15/2016)
2 Meeting of Creditors and Notice of Appointment of
(2 pgs) Trustee LENARD E. SCHWARTZER, . 341

meeting to be held on 12/19/2016 at 10:30 AM at
341s - Foley Bldg,Rm 1500. Deadline to Object to
Debtor's Discharge or to Challenge Dischargeability
of Certain Debts due by 02/17/2017. (Entered:
11/15/2016 11/15/2016)

 

 

 

 

 

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11/15/2016

[uo

Statement of Social Security Number(s). This
document contains sensitive information and
cannot be viewed by the public. Filed by
ANASTASIA KARAMANIDES (arv) (Entered:
11/15/2016)

 

11/15/2016

(4 pgs)

Application for Waiver of the Chapter 7 Filing Fee
for Individuals Who Cannot Pay the Filing Fee in
Full or in Installments with Proposed Order Filed by
ANASTASIA KARAMANIDES (arv) (Entered:
11/15/2016)

 

11/15/2016

Set Deficient Filing Deadlines. Incomplete Filings
due by 11/29/2016. Verification of Creditor Matrix
due by 11/29/2016. Summary of Assets and
Liabilities due by 11/29/2016. Schedules A/B-J due
by 11/29/2016. Declaration Re: Schedules due by
11/29/2016. Statement of Financial Affairs due by
11/29/2016. Statement of Intent due by 12/15/2016.
Statement of Current Monthly Income and Means
Test Form 122A-1 Due: 11/29/2016. (arv) (Entered:
11/15/2016)

 

11/15/2016

(2 pgs)

Notice of Incomplete and/or Deficient Filing. (arv)
(Entered: 11/15/2016)

 

11/16/2016

Notice of Debtor's Prior Filing for debtor
ANASTASIA KARAMANIDES Case Number 07-
12910, Chapter 7 filed in New Mexico Bankruptcy
Court on 11/17/2007 , Dismissed for Abuse on
06/22/2009.(Admin) (Entered: 11/16/2016)

 

11/17/2016

(3 pgs)

BNC Certificate of Mailing (Related document(s)2
Meeting of Creditors Chapter 7 No Asset (BNC))
No. of Notices: 2. Notice Date 11/17/2016. (Admin.)
(Entered: 11/17/2016)

 

11/17/2016

&
(3 pgs)

BNC Certificate of Mailing. (Related document(s)6
Incomplete and/or Deficient Filing-Ch 7 Individual
(BNC)) No. of Notices: 1. Notice Date 11/17/2016.
(Admin.) (Entered: 11/17/2016)

 

11/21/2016

9
(1 pg)

Request for Special Notice Filed by BMW BANK
OF NORTH AMERICA (ASCENSION CAPITAL
GROUP, INC. (ma)) (Entered: 11/21/2016)

 

11/21/2016

 

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10
(1 pg)

 

 

1/5/2017
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Order Granting Debtor's Application for Waiver of
the Chapter 7 Filing Fee (Related Doc # 4) (arv)
(Entered: 11/21/2016)

 

11/22/2016

Request for Special Notice Filed by PRA
RECEIVABLES MANAGEMENT, LLC
(PORTFOLIO RECOVERY ASSOCIATES,LLC
(vs)) (Entered: 11/22/2016)

 

11/23/2016

Notice of Appearance and Request for Notice with
Certificate of Service Filed by BRETT P. RYAN on
behalf of Pingora Loan Servicing, LLC (RYAN,
BRETT) (Entered: 11/23/2016)

 

11/23/2016

BNC Certificate of Mailing - pdf (Related document
(s)10 Order on Debtor's Application for Waiver of
the Chapter 7 Filing Fee (BNC)) No. of Notices: 1.
Notice Date 11/23/2016. (Admin.) (Entered:
11/23/2016)

 

12/02/2016

14
(2 pgs)

Notice of Appearance and Request for Notice Filed
by JAMES B. BALL on behalf of SANTANDER
CONSUMER USA INC. DBA CHRYSLER
CAPITAL (BALL, JAMES) (Entered: 12/02/2016)

 

12/13/2016

15
(14 pgs)

Motion for Relief from Stay Property: 2012 BMW
535i Fee Amount $181. with Proposed Order Filed
by BRIAN E HOLTHUS on behalf of BMW BANK
OF NORTH AMERICA (HOLTHUS, BRIAN)
(Entered: 12/13/2016)

 

12/13/2016

16

Receipt of Filing Fee for Motion for Relief from
Stay(16-16106-btb) [motion,mrlfsty] ( 181.00).
Receipt number 17208215, fee amount $ 181.00.(re:
Doc#15) (U.S. Treasury) (Entered: 12/13/2016)

 

12/13/2016

17
(3 pgs)

Notice of Hearing Hearing Date: 01/23/2017
Hearing Time: 10:00 a.m. with Certificate of Service
Filed by BRIAN E HOLTHUS on behalf of BMW
BANK OF NORTH AMERICA (Related document
(s)15 Motion for Relief from Stay filed by Creditor
BMW BANK OF NORTH AMERICA)
(HOLTHUS, BRIAN) (Entered: 12/13/2016)

 

12/13/2016

 

 

 

362 Information Sheet Filed by BRIAN E
HOLTHUS on behalf of BMW BANK OF NORTH
AMERICA (Related document(s)15 Motion for
Relief from Stay filed by Creditor BMW BANK OF

 

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NORTH AMERICA) (HOLTHUS, BRIAN)
(Entered: 12/13/2016)

 

19 Hearing Scheduled/Rescheduled. Hearing scheduled
1/23/2017 at 10:00 AM at BTB LV-Courtroom 4,
Foley Federal Bldg. (Related document(s)15 Motion
for Relief from Stay filed by Creditor BMW BANK.
OF NORTH AMERICA) (arv) (Entered:

 

12/14/2016 12/14/2016)
20 Motion for Relief from Stay Property: 2722 Port
(34 pgs) Lewis Avenue, Henderson, NV 89052 Fee Amount

$181. with Proposed Order with Certificate of
Service Filed by JASON C. KOLBE on behalf of
Pingora Loan Servicing, LLC (KOLBE, JASON)
12/15/2016 (Entered: 12/15/2016)

 

21 Receipt of Filing Fee for Motion for Relief from
Stay(16-16106-btb) [motion,mrlfsty] ( 181.00).
Receipt number 17212524, fee amount $ 181.00.(re:

 

12/15/2016 Doc#20) (U.S. Treasury) (Entered: 12/15/2016)
22 Notice of Hearing on Motion for Relief from
(2 pgs) Automatic Stay Hearing Date: 1/23/2017 Hearing

Time: 10:00 AM Filed by JASON C. KOLBE on
behalf of Pingora Loan Servicing, LLC (Related
document(s)20 Motion for Relief from Stay filed by
Creditor Pingora Loan Servicing, LLC) (KOLBE,
12/15/2016 JASON) (Entered: 12/15/2016)

 

23 Hearing Scheduled/Rescheduled. Hearing scheduled
1/23/2017 at 10:00 AM at BTB LV-Courtroom 4,
Foley Federal Bldg. (Related document(s)20 Motion
for Relief from Stay filed by Creditor Pingora Loan
12/16/2016 Servicing, LLC) (mrb) (Entered: 12/16/2016)

 

24 Motion for Relief from Stay Property: 2015 Jeep
(17 pgs; 4 docs) | Wrangler Fee Amount $181. with Proposed Order
with Certificate of Service Filed by JAMES B.
BALL on behalf of SANTANDER CONSUMER
USA INC. DBA CHRYSLER CAPITAL
(Attachments: # 1 Exhibit A #2 Exhibit B #3

 

12/20/2016 Exhibit C)((BALL, JAMES) (Entered: 12/20/2016)
12/20/2016 25 Notice of Hearing Hearing Date: 1/23/2017 Hearing
(3 pgs) Time: 10:00 a.m. with Certificate of Service Filed by

JAMES B. BALL on behalf of SANTANDER
CONSUMER USA INC. DBA CHRYSLER

 

 

 

 

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CAPITAL (Related document(s)24 Motion for
Relief from Stay filed by Creditor SANTANDER
CONSUMER USA INC. DBA CHRYSLER
CAPITAL) (BALL, JAMES) (Entered: 12/20/2016)

 

26 Certificate of Service Filed by JAMES B. BALL on
(2 pgs) behalf of SANTANDER CONSUMER USA INC.
DBA CHRYSLER CAPITAL (Related document(s)
24 Motion for Relief from Stay filed by Creditor
SANTANDER CONSUMER USA INC. DBA
CHRYSLER CAPITAL, 25 Notice of Hearing filed
by Creditor SANTANDER CONSUMER USA INC.
DBA CHRYSLER CAPITAL) (BALL, JAMES)
12/20/2016 (Entered: 12/20/2016)

 

27 Receipt of Filing Fee for Motion for Relief from
Stay(16-16106-btb) [motion,mrlfsty] ( 181.00).
Receipt number 17221208, fee amount $ 181.00.(re:
12/20/2016 Doc#24) (U.S. Treasury) (Entered: 12/20/2016)

 

28 Statement Adjourning Meeting of 341(a) Meeting of
Creditors. Section 341(a) Meeting Continued on
1/4/2017 at 01:00 PM at 341s - Foley Bldg,Rm 1500.
Debtor absent. (SCHWARTZER, LENARD)
12/20/2016 (Entered: 12/20/2016)

 

29 Hearing Scheduled/Rescheduled. Hearing scheduled
1/23/2017 at 10:00 AM at BTB LV-Courtroom 4,
Foley Federal Bldg. (Related document(s)24 Motion
for Relief from Stay filed by Creditor SANTANDER
CONSUMER USA INC. DBA CHRYSLER
12/21/2016 CAPITAL) (wml) (Entered: 12/21/2016)

 

 

 

 

 

 

 

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